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                            THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

ZEO HEALTH LTD.,                                 §
MICAH PORTNEY,                                   §
TOUCHSTONE LIFE ESSENTIALS, INC.,                §
and NORWOOD E. STONE,                            §    Case No. 2:21-cv-11410
                                                 §
           Plaintiffs,                           §    JURY TRIAL DEMANDED
                                                 §
   vs.                                           §
                                                 §
ZOI GLOBAL, LLC,                                 §
LORI R. LEE, DENISE STEPHENS,                    §
METRON NUTRACEUTICALS, LLC, and                  §
NIKOLAOS TSIRIKOS-KARAPANOS,                     §
                                                 §
              Defendants.                        §


                                    AMENDED COMPLAINT

         Plaintiffs ZEO HEALTH LTD. (“Zeo Health”), MICAH PORTNEY (“Mr. Portney”),

TOUCHSTONE LIFE ESSENTIALS, INC. (“Touchstone Essentials”), and NORWOOD E.

STONE (“Mr. Stone”) (collectively, “Plaintiffs”) file this Amended Complaint against Defendants

ZOI GLOBAL, LLC (“Zoi Global”), LORI R. LEE (“Ms. Lee”), DENISE STEPHENS (“Ms.

Stephens”), METRON NUTRACEUTICALS, LLC (“Metron”), and NIKOLAOS TSIRIKOS-

KARAPANOS (“Dr. Tsirikos-Karapanos”) (collectively, “Defendants”), and as claim for relief

state as follows:

                                   NATURE OF THE ACTION

         1.      This is an action for false and misleading advertising under the Lanham Act § 43(a)

(15 U.S.C. § 1125(a)) and for defamation, product disparagement, and unfair competition in

violation of New Jersey law.



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                                              PARTIES

        2.      Plaintiff Zeo Health Ltd. is a New York corporation with an address of 100

Waxhaw Parkway #870, Waxhaw, North Carolina, 28173.

        3.      Plaintiff Micah Portney, the president and founder of Zeo Health, is a citizen of

North Carolina.

        4.      Zeo Health is the original manufacturer of zeolite supplements in the United States.

Zeo Health is a globally recognized brand and sells its zeolite products worldwide, including to

retail chains, health practitioners, and online stores.

        5.      Plaintiff Touchstone Life Essentials, Inc. is a North Carolina company with an

address of 101 Bronzewood Court, Cary, North Carolina, 27518.

        6.      Plaintiff Norwood E. (“Eddie”) Stone, the founder and CEO of Touchstone

Essentials, is a citizen of North Carolina.

        7.      Touchstone Essentials is a global seller of nutritional supplements, including

natural zeolite detox and whole food supplements and premium organic powders. One of its

standout products is the Touchstone Essentials Pure Body Extra Strength (now known as “Pure

Body Extra”) natural zeolite detoxifier. Touchstone Essentials is a competitor of Plaintiff Zeo

Health and of Defendants.

        8.      On information and belief, Defendant Zoi Global, LLC is a New Mexico company

with a principal place of business at 3900 Juan Tabo NE, Albuquerque, New Mexico, 87111. Zoi

Global is a direct competitor of Zeo Health and Touchstone Essentials in the zeolite supplement

market.

        9.      On information and belief, Defendant Lori R. Lee is an affiliate and advisor to Zoi

Global and is a citizen of New Jersey.




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       10.     On information and belief, Defendant Denise Stephens is a founder and CEO of

Zoi Global and is a citizen of Texas.

       11.     On information and belief, Defendant Metron Nutraceuticals, LLC is an Ohio

company with an address of 4600 Euclid Avenue #401, Cleveland, Ohio 44103. On information

and belief, Metron’s business involves the research, development, and manufacture of dietary

supplements, including Zoi Global’s ClearDrops, an oral zeolite supplement.

       12.     On information and belief, Defendant Dr. Nikolaos Tsirikos-Karapanos is the

owner, founder, president, and managing member of Metron and the inventor of ClearDrops. On

information and belief, Dr. Tsirikos-Karapanos is a citizen of Ohio.

       13.     On information and belief, Dr. Tsirikos-Karapanos and Metron are one and the

same. Likewise, Dr. Tsirikos-Karapanos and Zoi Global are intertwined: Dr. Tsirikos-Karpanos

is featured prominently on the Zoi Global website and social media, including as the

inventor/formulator of its ClearDrops product, and as the featured spokesperson in numerous Zoi

Global videos. Zoi Global also refers to Dr. Tsirikos-Karapanos as “Our Inventor” and to his three

U.S. patents as “Our Patents.”

       14.     On information and belief, Defendants develop, manufacture, sell, and advertise

dietary supplements, including ClearDrops. Zoi Global sells and advertises its zeolite products,

including ClearDrops, across the United States including within this district.

                                 JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction under 15 U.S.C. § 1121 and 28 U.S.C. §

1331, because this action arises under the Lanham Act.

       16.     This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a).




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       17.     Venue in this judicial district is proper under Title 28, United States Code, §§ 1391

and 1400 because Defendants conduct business within this District. On information and belief,

Defendants sell products in this District, including Metron-manufactured ClearDrops, via the Zoi

Global website and through distributors. Defendants advertise their products in this District, e.g.,

through Zoi Global’s website and social media, including in videos featuring Ms. Stephens, Dr.

Tsirikos-Karapanos, and Metron. In addition, a substantial part of the events giving rise to

Plaintiffs’ claims occurred in this District. Defendants’ false and misleading advertisements,

Defendants’ defamatory statements about Plaintiffs, and Defendants’ disparagement of Plaintiffs’

products were targeted to—and have been viewed by—customers and/or potential customers in

this District, including by clients, potential clients, customers, and/or potential customers of Ms.

Lee and the Wellness Center of Northwest Jersey.

       18.     Additionally, venue is proper because Defendant Ms. Lee resides and conducts

business in this District. Ms. Lee is a health educator and affiliate and advisor to Zoi Global. She

creates content for the Zoi Global website, zoiglobal.com, is prominently featured on the website,

and creates and hosts webinars posted on the website. All of the website’s pages, including the

homepage, feature a link in the upper lefthand corner stating: “WELCOME FROM: LORI R. LEE,

MA, RDN, CPT, CLT FUNCTIONAL REGISTERED DIETITIAN NUTRITIONIST.”

       19.     The “CONTACT” tab on the Zoi Global website leads to a web page featuring a

photograph of Ms. Lee, along with links to Ms. Lee’s contact information in New Jersey. No

contact information for any other individual or entity is given.




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This “CONTACT” web page features Ms. Lee’s address at “CHESTER WOODS PROF PARK,

385 STATE ROUTE 24, SUITE 3H Chester New Jersey 07930” and her email address,

LORILEERD@THEWELLNESSCENTERNWJ.COM. The web page links to The Wellness

Center of Northwest Jersey, of which Ms. Lee is the “founder & executive director.” Likewise,

the Wellness Center of Northwest Jersey’s website, thewellnesscenternwj.com, includes a link to

the Zoi Global website, features pictures of Zoi Global’s products, and invites visitors of the site

to help distribute/sell these products. The Wellness Center of Northwest Jersey’s homepage

references Dr. Tsirikos-Karapanos and identifies him as: “Triple Board Certified as a Medical

Doctor, Pharmacist, Cardiovascular Surgeon & Inventor of ZOI ClearDrops, ClearDetox Pro and

ZOI ClearSleep.” Zoi Global refers to Dr. Tsirikos-Karapanos as “Our Inventor” and to his three

U.S. patents as “Our Patents.” The Wellness Center of Northwest Jersey’s website directs

customers and potential customers (including through hyperlinks) to the Zoi Global website.




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        20.     This Court has personal jurisdiction over Defendants because of Defendants’

continuous and systematic contacts and business activities within the state of New Jersey and

within this District.

                                         BACKGROUND

          Plaintiffs Zeo Health and Micah Portney and Their Zeolite Pure Powder

        21.     Zeo Health is the original manufacturer of zeolite supplements in the United States

and has been in business for nearly twenty years. Zeolite is a natural volcanic mineral with a wide

variety of uses and applications.

        22.     Zeo Health was founded in 1999 by Mr. Portney. Zeo Health was the first zeolite

supplementation manufacturer in the United States. Mr. Portney has worked with world-renowned

scientists and geologists to thoroughly understand the science behind zeolite and its uses for health

and is one of the foremost experts of zeolite supplementation in the world.

        23.     Zeo Health is a globally recognized brand and sells its zeolite products worldwide,

including to retail chains, health practitioners, and online stores. Its products include zeolite

powder (including “Zeolite Pure”), zeolite capsules, and zeolite suspension. As the pioneer of

zeolite supplements in this country, Zeo Health and Mr. Portney have devoted an extraordinary

amount of time, research, and dedication into developing these products.

        24.     Studies by toxicologists have proven that Zeo Health’s zeolite supplements are safe

and effective. In the twenty years Zeo Health has been in business, there has been no pattern or

history of negative health issues associated with the use of Zeo Health’s products. Furthermore, a

third-party 2015 study performed by scientists at the University of Missouri, experts in testing for

heavy metals and bioavailability, determined that Zeo Health’s zeolite does not leach lead (or

arsenic) and, in fact, may detoxify it. Zeo Health states this information on its website and provides




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links to the abstract of the University of Missouri study, along with other lab tests and toxicology

reports establishing the safety of its products.

  Plaintiffs Touchstone Essentials and Eddie Stone and Their Pure Body Extra Strength
                                     Zeolite Detoxifier

       25.     Touchstone Essentials, founded in 2012 by Mr. Stone, is a global seller of

nutritional supplements, including natural zeolite detox and whole food supplements and premium

organic powders. All of its products are lab-tested and backed by science, and all products are

formulated and manufactured to stringent quality standards. Touchstone Essentials currently

ships its products to over fifty-five different countries around the world. It is a competitor

of Plaintiff Zeo Health and of Defendants.

       26.     Touchstone Essentials’ growth has been driven largely by two standout

products, one of which is the Pure Body Extra zeolite detoxifier. To create this product,

Touchstone Essentials started with natural mineral zeolite—a scientifically proven detoxifier—

and used a proprietary process that included a cleansing process for the natural zeolite (that was

validated by independent lab testing) to make it a highly effective detox.

       27.     Touchstone Essentials thoroughly cleans the zeolite in its products and has

invested in third-party independent testing of its zeolite products. The test results are

available online for anyone to view. The zeolite, as an aluminosilicate, used by Touchstone

Essentials has been granted Generally Recognized As Safe (GRAS) status by the Food and

Drug Administration.

       28.     Touchstone Essentials’ natural health supplements are backed by a body of

scientific knowledge and are endorsed by top doctors, health educators, and experts. Some of the

renowned contributors who appear on its health webinars and contribute to its blog include Dr.

Alex Lee, board-certified in Internal Medicine and Gastroenterology; Dr. Stephen A. Aiello,



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board-certified in Internal Medicine, Geriatrics, and Holistic & Integrative Medicine; and Lucinda

Miller, one of the UK’s leading naturopaths and a specialist in children’s health.

                        Defendants and Zoi ClearDrops Liquid Zeolite

       29.     Defendants, who are direct competitors of Plaintiffs, develop, manufacture, and sell

dietary supplements, including ClearDrops, an oral zeolite supplement.

       30.     Ms. Lee is also prominently featured on the Zoi Global website, zoiglobal.com.

The website’s homepage features a link stating: “WELCOME FROM: LORI R. LEE, MA, RDN,

CPT, CLT FUNCTIONAL REGISTERED DIETITIAN NUTRITIONIST.” The “CONTACT”

tab on the Zoi Global website leads directly to a web page featuring Ms. Lee. The “CONTACT”

web page on which Ms. Lee is featured directly links to The Wellness Center of Northwest Jersey,

of which Ms. Lee is the “founder & executive director.” Likewise, the Wellness Center of

Northwest Jersey’s website, thewellnesscenternwj.com, includes a link to the Zoi Global website.

On information and belief, Ms. Lee is a health educator and affiliate and advisor to Zoi Global,

and she creates content for the Zoi Global website and creates and hosts webinars posted on the

website.

       31.     Ms. Stephens is a founder and CEO of Zoi Global and is featured prominently in

numerous videos on Zoi Global’s website and social media, including YouTube and Facebook.

On information and belief, Ms. Stephens oversees, and is responsible for, the content of Zoi

Global’s website and social media accounts.

       32.     On information and belief, Metron’s business involves the research, development,

and manufacture of dietary supplements, including products containing zeolite clinoptilolite

fragments.   According to Zoi Global’s website and social media, Metron is the exclusive

formulator of Zoi ClearDrops.




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       33.     On information and belief, Dr. Tsirikos-Karapanos is the president, owner, founder,

and managing member of Metron, the formulator for Zoi Global, and the inventor of Zoi

ClearDrops. He is featured prominently in Zoi Global’s website and social media, including

YouTube and Facebook. According to Zoi Global’s website, Dr. Tsirikos-Karapanos is a board-

certified pharmacist, medical doctor, and cardiovascular surgeon and “recipient of prestigious

awards in thoracic and cardiovascular surgery.”

       34.     On information and belief, Dr. Tsirikos-Karapanos, the owner, founder, president,

and managing member of Metron, has both actual and apparent authority to act as an agent of

Metron. Metron explicitly and/or implicitly gave Dr. Tsirikos-Karapanos the authority to engage

in the conduct described herein, and Dr. Tsirikos-Karapanos reasonably believed, in accordance

with Metron’s manifestations, that he should so act. Metron is mentioned numerous times on Zoi

Global’s website and social media, including in its videos, and specifically in connection with Dr.

Tsirikos-Karapanos. Dr. Tsirikos-Karapanos’s “Inventor Bio” begins, “Dr. Nikolas Tsirikos,

President Of Metron Nutraceuticals, Is The Inventor Of ClearDrops.” In Defendants’ videos, Dr.

Tsirikos-Karapanos represents that he is appearing “from Metron,” and both Dr. Tsirikos-

Karapanos and Ms. Stephens repeatedly refer to Metron in Defendants’ videos, including to the

fact that Dr. Tsirikos-Karapanos is the president/a representative of the company. In Defendants’

video titled “2021-05-25 – A TRUE AWAKENING – ZEO HEALTH ZEOLITE PURE,” Dr.

concludes, “from Metron Nutraceuticals in Cleveland, Ohio, thank you for your time.” Metron is

also mentioned on Ms. Lee’s website. A Zoi Global video that was posted on Vimeo, titled “Zoi

Global Reveal on Vimeo,” states: “This video is the FIRST STEP of a lifetime partnership with

Metron Nutraceuticals ….”




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       35.     Additionally, the appearance of Dr. Tisirikos-Karapanos’s authority to act as

Metron’s agent has been created by Metron in putting him forward as the face of the company and

allowing him to represent the company in videos appearing on Defendants’ websites and social

media. Third parties consuming the false, misleading, and defamatory statements made by Dr.

Tsirikos-Karapanos and Defendants have relied on Dr. Tsirikos-Karapano’s apparent authority to

act for Metron, and this reliance has been reasonable under the circumstances.

       36.     Further, on information and belief, there is a unity of interest and ownership such

that Metron and Dr. Tsirikos-Karapanos—Metron’s owner, founder, president, and managing

member—are one and the same. Metron is organized and operated as a mere instrumentality, or

alter ego, of Dr. Tsirikos-Karapanos, Dr. Tsirikos-Karapanos uses the corporation to commit

injustice and circumvent the law, and Dr. Tsirikos-Karapanos fails to maintain the corporate

identity. The unity between Metron and Dr. Tsirikos-Karapanos is based on, but not limited to,

Metron’s failure to observe corporate formalities, the fact that Metron is merely a facade for the

operations of Dr. Tsirikos-Karapanos, the non-functioning of other officers or directors of Metron,

the absence of corporate records, and Metron’s gross undercapitalization. Dr. Tsirikos-Karapanos,

via the corporate form, has perpetrated, at least, an injustice.

 Defendants’ False and Misleading Statements Regarding Zeo Health, Micah Portney, and
                                  Zeolite Pure Powder

       37.     Defendants operate, appear in, and create content for their websites, Zoi Global

(zoiglobal.com) and The Wellness Center of New Jersey (http://www.thewellnesscenternwj.com).

Defendants also have social media accounts, including a ZOI Global channel on YouTube and a

ZOI Global page on Facebook.




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          38.   The Zoi Global website prominently features a “Compare Us” section, which

compares Defendants’ products with those of various competitors. According to Defendants’

website, these comparison charts were prepared by Ms. Stephens.

          39.   One of Defendants’ comparison pages is titled “Zoi ClearDrops vs. Zeo Health

Zeolite         Pure,”       available      at       https://zoiglobal.com/compare-zeohealth-

zeolitepure?u=well4life&r=C1167. The webpage features an image of Zeolite Pure stamped with

the word “PSEUDOSCIENCE.”




The Zoi Global website also features other images of Zeolite Pure stamped “PSEUDOSCIENCE”

and “FAKE NEWS.”




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The Zoi Global Facebook page, available at https://www.facebook.com/zoiglobal2020/, also

compares Defendants’ and Zeo Health’s products. Zoi Global’s Facebook page features a similar

comparison image of Zeolite Pure stamped with the word “PSEUDOSCIENCE.”




Defendants provide no support for their false claim that Zeo Health’s products—which, like

Defendants’ products, are zeolite supplements—are “pseudoscience” or “fake news.”

       40.    The “Compare Us” section of the Zoi Global website features a twenty-nine-minute

video in which Dr. Tsirikos-Karapanos makes various false, misleading, and disparaging



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statements comparing Defendants’ Zoi ClearDrops to Zeo Health’s Zeolite Pure supplements. Dr.

Tsirikos-Karapanos first details his credentials as a pharmacist, medical doctor, and cardiovascular

surgeon, among others. He then goes on to make various false, misleading, and/or defamatory

statements. He states, for example:

   •   “[I]t’s very clear that the quality of the formulator is a key factor regarding the quality of

       the final formulation, the final product …. I’m very cautious when I see dietary

       supplements that have a no-name individual as a formulator. It is not the case with Zeo

       Health Zeolite Pure. Mr. Micah Portney is the formulator of this product. And Mr. Micah

       Portney has a very well-known past in the market, and he’s also very well known to

       regulatory agencies like the Food and Drug Administration …. In September 2004 … the

       FDA sent him a warning letter regarding his formulations. And later, in 2015/2016, his

       name is mentioned at the Biennial Report of the Attorney General of California …. So, this

       is a significant component of the background and history of Mr. Micah Portney. I can tell

       [you] that personally, I wouldn’t trust to take even a glass of water from Mr. Portney.”

   •   “It is mandatory for dietary supplements in the United States … to be fully and adequately

       preserved …. [W]e don’t see in any preservative listed at the Zeo Health Zeolite Pure, and

       for this reason, we believe that the product is unpreserved. Now, let me tell you that, in

       simple words, it is illegal for a dietary supplement to be nonpreserved in the United States

       …. So, I’m just wondering how this product is still in the market, being nonpreserved.

       That’s a question mark there, and that’s a huge red flag.”

   •   “If you have dietary supplements formulation, you must test it for four elements, according

       to the United States Pharmacopeia …. These four elements are arsenic, cadmium, mercury,




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       and lead …. There’s nothing to compare regarding Zeo Health relevant testing. All this

       information is unknown. We don’t know how this product is made.”

   •   “For the final product regarding the Zeo Health Zeolite Pure powder, we don’t have any

       information, including elemental impurities. We don’t know if Zeo Health Zeolite Pure is

       ever tested for elemental impurities, and if yes, for what elements at what concentration,

       etc. But at this point, let me tell you that this is very valid huge red flag, given the past of

       Mr. Micah Portney …. I really don’t understand why Mr. Portney don’t provide any

       information regarding elemental impurities in this formulation he makes, the Zeo Health

       Zeolite Pure. Based on his past, I think we are very entitled to feel that there is a huge

       question mark and a huge red flag regarding, first of all, the safe[ty] of this zeolite powder.”

       41.     At the end of the video, Ms. Stephens, founder and CEO of Zeo Health, states: “Dr.

Nikolaos, you’ve laid the facts out on the table. If the consumer is looking for the benefits of

zeolite, the gold standard is at Zoi Global. Once the research is done, the answers are presented.”

(emphasis added).

       42.     Also on the Zoi Global website at https://zoiglobal.com/compare-zeohealth-

zeolitepure?u=well4life&r=C1167 are links to “DEPT OF HEALTH & HUMAN SERVICES,”

“CALIFORNIA DEPARTMENT OF JUSTICE,” and “2020.04 – FDA LETTER TO BARRY

COHEN” and a table purporting to compare Defendants’ products with Zeo Health’s. With respect

to the products’ “regulatory/litigation history,” Defendants claim that they have an “excellent

reputation,” while Zeo Health has received “FDA warning letters”:




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Defendants further claim that their products have no regulatory issues, while Zeo Health’s have

“multiple”:




       43.     These statements are false and misleading. For example, none of the linked

documents, or any other evidence provided by Defendants, are actually FDA warning letters. Nor

do the documents state that Zeo Health’s zeolite products—the subject of Defendants’

comparison—have any regulatory or safety issues. Further, none of the linked documents supports

that Zeo Health’s competing zeolite supplements have been found to be unsafe, ineffective, or

have received any complaints from customers. Additionally, Defendants’ assertion that “it is

illegal” and “a huge red flag” for Zeo Health’s products to be nonpreserved is false and misleading:

Zeolite Pure, which is a powder (and is heat-treated), does not require a preservative. Defendants’

statements regarding the United States Pharmacopeia and testing of elements are similarly

misleading, as that organization has no relationship to dietary supplements or their regulation.


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       44.    As a result of Defendants’ false and misleading statements, Zeo Health and Mr.

Portney have suffered reputational harm and loss of business.

  Defendants’ False and Misleading Statements Regarding Touchstone Essentials, Eddie
                         Stone, and Pure Body Extra Strength

       45.    Another of Defendants’ comparison webpages is titled “Zoi ClearDrops vs.

Touchstone    Pure   Body    Extra   Strength,”     available   at   https://zoiglobal.com/compare-

touchstone?u=well4life&r=C1167. The webpage features an image of Touchstone Pure Body

Extra Strength stamped with the word “PSEUDOSCIENCE.”




The Zoi Global website also features an image of Touchstone Pure Body Extra Strength stamped

“PSEUDOSCIENCE” and “FAKE NEWS.”




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The Zoi Global Facebook page also compares Defendants’ and Touchstone Essentials’ products,

available at https://www.facebook.com/zoiglobal2020/. Zoi Global’s Facebook page features a

similar comparison image of Touchstone Pure Body Extra Strength stamped with the word

“PSEUDOSCIENCE.”




Defendants provide no support for their claim that Plaintiffs’ products—which, like Defendants’

products, are zeolite supplements—are “pseudoscience” or “fake news.”




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       46.     The “Compare Us” section of the Zoi Global website features two videos in which

Dr. Tsirikos-Karapanos compares Defendants’ product to Touchstone Essentials’ and makes

various false, misleading, and disparaging statements about Touchstone Essentials, Mr. Stone, and

Pure Body Extra Strength. The first video is twenty-nine minutes long, and the second video is

one hour and sixteen minutes long. The second video is also available for view on Zoi Global’s

YouTube channel under the title “ZOI Global Response To ZOI ClearDrops vs. Touchstone PBX

Comparison.”

       47.     In the twenty-nine minute video, Ms. Stephens introduces Dr. Tsirikos-Karapanos

as a triple-board certified PharmD, MD, and PhD, and “extremely qualified to speak to all of the

scientific elements during this comparison.” Dr. Tsirikos-Karapanos then goes on to make various

false, misleading statements, and/or defamatory statements, for example:

   •   “We have, as of today, zero information regarding the supplier [for Touchstone Essentials

       Pure Body Extra Strength] …. We don’t know if this supplier is an FDA registered or

       inspected company.”

   •   “[I]t is mandatory for all dietary supplements circulating in the United States, and in many

       other territories all over the world, to be preserved. Or, let me put it in lay language, in

       simpler language, it is illegal to have in the United States the product that is not preserved

       …. Unfortunately, I see that the Touchstone Essentials has no preservative within it ….

       We see a big red flag here with Touchstone Essentials Pure Body Extra Strength as

       nonpreserved. If this is true, and the Touchstone Essentials Pure Body Extra Strength is

       not preserved, that’s sad, and to my understanding this is a red flag, this is a non-FDA

       compliant feature.”




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   •   “Interestingly, for the Touchstone Essentials, we don’t know the actual number of elements

       tested, but more importantly, … we have seen from the information presented by

       Touchstone Essentials, that the test that they conduct … the alarming component here is

       the method of analysis or the standard. These metals are tested according to the EPA

       standards. EPA is the Environmental Protection Agency in the United States, and has no

       jurisdiction over dietary supplements. To me, that’s is a very big question mark that this

       brings …. There is absolutely no regulatory issue regarding the Zoi Global ClearDrops ….

       Unfortunately, we see several red flags with the Touchstone Essentials Pure Body Extra

       Strength product. First, it seems, according to the information provided by Touchstone,

       that it is unpreserved, and that’s a bigtime problem. Also, this is outside of the FDA

       required standards for preservation. It seems also that elemental impurities have not been

       tested according to the FDA standards or requirements but according to the requirements

       of the … EPA, which has no jurisdiction over dietary supplements.”

       48.     At the end of the video, Ms. Stephens, founder and CEO of Zeo Health, states:

“Thank you so much, Dr. Nikolaos …. Like you said, we can hoodwink some people some of the

time, but not all of the people all of the time. And at the end of the day, we put our science where

our mouth is, we make it readily available, we don’t use any trickery words, and that is with great

pride that Zoi Global can hang their hat, as Zoi Global is the zeolite gold standard.”

       49.     These statements are false and misleading. For example, there are no guidelines

stating that Pure Body Extra must have an added preservative, and Plaintiffs use pasteurization

and employ a variety of quality control measures to ensure that their products are safe.

Additionally, Defendants misrepresent and omit information from the lab results they cite. And it

is false and misleading for Defendants to state that, simply because the lab uses the common EPA




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standards, Plaintiffs’ products do not meet FDA standards, have “regulatory issues,” and are

“alarming.”

       50.      In the second video, which is also posted on Defendants’ YouTube channel, Ms.

Stephens appears alongside Dr. Tsirikos-Karapanos. Dr. Tsirikos-Karapanos directs the entire

video at Touchstone Essentials, and Mr. Stone specifically, whom he repeatedly addresses by

name. The video contains various false, misleading, and/or defamatory statements, including:

   •   Repeated false and denigrating references to a company, Waiora Global, that Mr. Stone

       last worked for ten years ago as a minority partner, and a lawsuit against Waiora that did

       not involve any acts by Mr. Stone and from which he was dismissed with prejudice (and

       was not a party to the final settlement). Dr. Tsirikos-Karapanos states, for example:

       1) “[A]ccording to your LinkedIn page, you were with Waiora from April 2004 until June

             2011, and on February 2012, you started Touchstone Essentials. Class action against

             your company, Waiora, was filed on January 25, 2012. Five days later, on February

             2012, you started Touchstone. I’ve heard by many, and I don’t know and I make no

             determination because I don’t have knowledge, that Waiora was the root of all evil in

             the zeolite space. Because of crazy claims of treating cancers, treating autism, treating

             other diseases. Again, I don’t have knowledge about this, but that’s what I’ve heard.

             Also, I’ve heard that Touchstone is your successful effort to rebrand your previous

             business, Waiora.”

       2) “[O]ne of your people in Waiora … became member and partner of Metron

             Nutraceuticals. Well, after he stole products from Metron Nutraceuticals and relabeled

             them in his effort to sell them as his own products …. there was litigation about this




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         matter, and … the court put [him] in Cuyahoga County jail for three days for civil and

         criminal contempt to the court.”

      3) “Mr. Stone … you don’t disclose, your company’s not disclosing, any amount of

         zeolite, but instead you disclose only what is the dispensed volume if someone pushes

         this button …. As a businessman involved in class action, alleging that your previous

         company, Waiora, was not putting in the bottle the amount of zeolite that was claimed

         in the label, do you realize that not having the amount of zeolite in your label smells a

         little Waiora? Has the flavor of Waiora? …. But Mr. Stone, let me tell you, not having

         the amount of zeolite in your bottle, it’s a huge red flag.”

  •   Multiple false and misleading statements that Plaintiffs’ products are not FDA compliant,

      including:

      1) “Is Pure Body Extra Strength manufactured at an FDA-registered facility? I’m saying

         this, because I don’t see it in the label, and I know firsthand as president of Metron

         Nutraceuticals, inspected by the FDA with a stellar outcome, and I know it as a

         pharmacist—board-certified pharmacist and medical doctor—that FDA-registered

         facilities would not risk to operate outside of the CGMP requirements as set by the

         FDA. So, I see that you don’t disclose the amount of zeolite in your label. So I’m

         wondering, is this made at an FDA-registered and maybe inspected facility? Who made

         this product? Who agreed that this product will not disclose the amount of the zeolite

         on the label?”

      2) “Is the manufacturing of Pure Body Extra Strength done according to the FDA CGMP

         requirements as monitored by quality control and quality insurance? Because if it is

         the case, it’s very questionable how the quality control and quality assurance of an




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         FDA-registered and maybe inspected facility allow you to not to disclose how much

         zeolite you have per the dispensed volume.”




  •   Repeated false and misleading statements that Plaintiffs’ products are mislabeled,

      unnatural, and unsafe including:

      1) “We want to know how much exactly zeolite you have in this bottle. But Mr. Stone,

         let me tell you, not having the amount of zeolite in your bottle, it’s a huge red flag.”

      2) “Unfortunately, you’ve provide[d] some false information about the zeolite within Pure

         Body Extra Strength. You claim that the zeolite inside the Pure Body Extra Strength

         is natural zeolite …. The Zeolite inside Pure Body Extra Strength is a manufactured

         zeolite …. You have a manufactured zeolite, not a zeolite ‘as is’ …. There is a problem

         that you declare it as natural, it is not.”

      3) “[T]he free aluminum in your formulation is … around ten times more than what it is

         permitted.”

  •   Repeated statements suggesting that Mr. Stone lacks knowledge and scientific

      understanding of the products-at-issue, for example: “Well, Mr. Norwood Eddie Stone,


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       you can read about the science behind ClearDrops if you spend the time to read our three

       patents. And if you don’t understand the patents, and that I can understand, you can hire a

       real scientist to read our patents and explain it to you.”

   •   Defendants also incorrectly state: “Mr. Norwood Eddie Stone, you do not have a

       proprietary, company-owned process.”

       51.    Also     on    the   Zoi    Global      website   at   https://zoiglobal.com/compare-

touchstone?u=well4life&r=C1167 is a table purporting to compare Defendants’ products with

Touchstone Essentials’. With respect to whether the products are “Adequately Preserved,”

Defendants claim that “YES,” their products are preserved, while Touchstone Essentials’ products

are “Unpreserved” and “Non-FDA Compliant”:




With respect to the products’ “Elemental Impurities Testing Standards,” Defendants claim that

Touchstone Essentials’ standards are “Non-FDA Compliant Test (Tested to EPA Standards)”:




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The hyperlink provided by Defendants links to a third-party laboratory analysis for Touchstone

Essentials’ zeolite product Pure Body—not for Touchstone Essentials’ zeolite product Pure Body

Extra Strength—thus, the incorrect link is provided and the lab results are misrepresented.

Additionally, Defendants’ second video falsely represents that Touchstone Essentials’ zeolite

product, Pure Body Extra, has detectable free aluminum that represents a danger to consumers:

“[T]he free aluminum in your formulation is … around ten times more than what it is permitted.”

In fact, zeolites by their nature are aluminosilicates, which means that their molecular structure is

aluminum and silicon; there is no free aluminum in zeolite as the aluminum in inherent in its

structure. The lab analysis reference is not for Pure Body Extra, and is misrepresented as having

free aluminum when in fact the lab analysis was an acid digest of the zeolite, to test each element,

thereby showing its molecular contents.

       Additionally, in the section of the table titled “Regulatory Issues,” Defendants state that

their products have no issues while Touchstone Essentials’ products are “Unpreserved; Non-FDA

Compliant Elemental Impurities Testing Standards”:




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       52.     These statements are false and misleading. Defendants provide no support for their

assertion that Touchstone Essentials’ products are “unpreserved.” Neither the linked laboratory

analysis, nor any other evidence provided by Defendants, demonstrates that Touchstone

Essentials’ products are “non-FDA compliant” or that Touchstone Essentials’ zeolite supplements

have been found to be unsafe or ineffective in any way.

       53.     As a result of Defendants’ false and misleading statements, Touchstone Essentials

and Eddie Stone have suffered, and will imminently suffer, reputational harm and loss of business.

   Defendants’ Additional False and Misleading Statements Plaintiffs As Retaliation for
                                  Filing This Lawsuit

       54.     After Plaintiffs filed this lawsuit on May 18, 2021 (and emailed Ms. Lee a copy of

the complaint on May 20, 2021), Defendants escalated their false and misleading attacks against

Plaintiffs Zeo Health, Mr. Portney, Touchstone Essentials, and Mr. Stone.

       55.     On May 24, 2021, four days after Ms. Lee received notice of the lawsuit,

Defendants Metron and Dr. Tsirikos-Karapanos wrote a retaliatory letter to the FDA regarding

Zeo Health and Mr. Stone (Ex. A). The letter falsely stated Metron and Dr. Tsirikos-Karpanos

“recently became aware of” Zeo Health’s Zeolite Pure product. Metron and Dr. Tsirikos-

Karapanos cite several of the same issues and documents from the Zoi Global website and videos

to disparage and defame Zeo Health and Mr. Portney and to mislead customers as to the safety of

their products.   For example, Metron and Dr. Tsirikos-Karapanos repeat the false and/or

misleading claims that Zeo Health’s products contain excessively high amounts of lead and

arsenic, that there was a determination of wrongdoing by the California Attorney General, and that


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“Zeo Health and Mr. Portney are known to [the FDA’s] Office” based on past misconduct. Metron

and Dr. Tsirikos-Karapanos submitted this letter despite the admonition on the FDA’s Safety

Reporting Portal that, “Under 18 U.S.C. 1001, anyone who makes a materially false, fictitious, or

fraudulent statement to the U.S. Government is subject to criminal penalties.” See Safety

Reporting Portal, https://www.safetyreporting.hhs.gov/SRP2/en/Home.aspx?sid=1461b42a-6e07-

4fed-a6d8-a1aaf28f132f.

       56.     Additionally, on May 27, 2021, Defendants posted a video titled “2021-05-25 – A

TRUE AWAKENING – ZEO HEALTH ZEOLITE PURE” to the Zoi Global YouTube channel

and website. The video, which features Ms. Stephens and Dr. Tsirikos-Karapanos, is directed at

Plaintiffs Zeo Health and Micah Portney. In the video, Defendants make further false and

misleading statements, including that Zeo Health’s Zeolite Pure product contains unsafe levels of

arsenic, lead, and mercury.




Dr. Tsirikos-Karapanos states that because of these safety issues, he reported Zeolite Pure to the

FDA. He concludes his presentation by stating: “As a board-certified pharmacist and medical

doctor, I sent my report to the FDA regarding Pure yesterday …. As [a] triple board-certified


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pharmacist, medical doctor, and cardiovascular surgeon, I firmly believe that good quality dietary

supplements, if used appropriately, can contribute to our wellness. For the last seven years, as

president of Metron Nutraceuticals, I became aware of the changes needed in the dietary

supplement industry in general. Hopefully my presentation today will contribute and help in

making the zeolite space and marketplace, and in general, the dietary supplements domain, a better

and safer place.”

       57.     Defendants also took retaliatory action against Touchstone Essentials and Mr.

Stone. On May 27, 2021, May 27, 2021, Defendants posted a video titled “2021-05-25 – A TRUE

AWAKENING – TOUCHSTONE PURE BODY EXTRA (PBX) STRENGTH” to the Zoi Global

YouTube channel and website. The video, which features Ms. Stephens and Dr. Tsirikos-

Karapanos, is directed at Plaintiffs Touchstone Essentials and Mr. Stone. In the video, Defendants

make false and misleading statements, including that Pure Body Extra does not contain zeolite, is

not manufactured at an FDA-registered facility, and is not manufactured under quality control or

quality assurance.




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At the end of the video, Dr. Tsirikos-Karapanos repeats the statement made in the Zeo Health

video: “As [a] triple board-certified pharmacist, medical doctor, and cardiovascular surgeon, I

firmly believe that good quality dietary supplements, if used appropriately, can contribute to our

wellness. For the last seven years, as president of Metron Nutraceuticals, I became aware of the

changes needed in the dietary supplement industry in general. Hopefully my presentation today

will contribute and help in making the zeolite space and marketplace, and in general, the dietary

supplements domain, a better and safer place.”

                                   COUNT ONE
                    FALSE ADVERTISING UNDER THE LANHAM ACT

        58.     Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

57 herein.

        59.     Defendants’ statements, including that Plaintiffs Zeo Health and Mr. Portney and

their zeolite products are unsafe, have “huge red flags,” have been the subject of FDA warning

letters, have been the subject of “multiple” regulatory issues, and are “pseudoscience” and “fake

news,” are false and misleading. Defendants’ statements that Mr. Portney is untrustworthy, is

“very well known to regulatory agencies like the Food and Drug Administration,” and has a

disreputable past, are also false.

        60.     These statements are presented as fact by Defendants. At the end of the Zeo Health

comparison video, Ms. Stephens states: “Dr. Nikolaos, you’ve laid the facts out on the table. If

the consumer is looking for the benefits of zeolite, the gold standard is at Zoi Global. Once the

research is done, the answers are presented.” Defendants use Dr. Tsirikos-Karapanos’s and

Metron’s purported knowledge and expertise to provide credibility. Defendants further claim to

support their statements with documents linked via hyperlinks. Defendants’ statements are

demonstrably untrue and can be independently verified as such. For example, the three documents



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linked by Defendants do not support their claims, and empirical verification establishes that Zeo

Health’s products have not been the subject of FDA warning letters, have not been the subject of

“multiple” regulatory issues or been found to have any safety issues, and have not been found to

be “pseudoscience” or “fake news.”

        61.    Additionally, Defendants’ statements, including that Plaintiffs Touchstone

Essentials and Mr. Stone’s zeolite products are non-FDA compliant, unsafe, mislabeled, do not

contain zeolite, have “red flags,” and are “pseudoscience” and “fake news,” are false and

misleading. Defendants’ statements that Touchstone Essentials is the “rebrand” of an allegedly

dishonest (or worse) company that was the “root of all evil in the zeolite space,” that there was a

judgment against Mr. Stone/that Mr. Stone was found to have any liability in the Waiora litigation,

and that Mr. Stone lacks knowledge and scientific understanding about the products-at-issue are

also false.

        62.    These statements are also presented as fact by Defendants. At the end of the first

Touchstone Essentials video, Ms. Stephens states: “And at the end of the day, we put our science

where our mouth is, we make it readily available, we don’t use any trickery words, and that is with

great pride that Zoi Global can hang their hat.” Defendants also use Dr. Tsirikos-Karapanos’s and

Metron’s purported knowledge and expertise to provide credibility. Defendants further claim to

support their statements with linked documents, and document and video excerpts included in the

videos. Defendants’ statements are demonstrably untrue and can be independently verified as

such. For example, empirical verification establishes that Plaintiffs’ products have never been

found to be non-FDA compliant, unsafe, unnatural, “pseudoscience,” or “fake news.” Further,

empirical verification establishes that Defendants’ characterization of the Waiora litigation and

Mr. Stone’s involvement in the lawsuit is false.




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        63.     Defendants’ statements about Plaintiffs, which are held out as fact and purport to

be supported by documents and public records and which are presented by a doctor in the website

and social media videos, create an actual deception or at least a tendency to deceive a substantial

portion of the intended audience, customers in the supplement market.

        64.     Defendants’ deception is material in that it is likely to influence purchasing

decisions, as safety and efficacy drive the purchasing decisions of customers in the supplement

market.

        65.     On information and belief, Defendants’ advertised goods, which are directed to

customers all over the country and can be viewed internationally via Defendants’ website and

social media, traveled in interstate commerce.

        66.     Defendants’ false advertising created a likelihood of injury and actual injury to

Plaintiffs in terms of declining sales, loss of good will, and reputation.

                              COUNT TWO
          DEFAMATION OF ZEO HEALTH LTD. UNDER NEW JERSEY LAW

        67.     Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

66 herein.

        68.     Defendants’ statements, including that Zeo Health and its zeolite products have

“huge red flags,” are unsafe and not FDA compliant, have been the subject of FDA warning letters,

have been the subject of “multiple” regulatory issues, and are “pseudoscience” and “fake news,”

are false and injurious to Zeo Health’s reputation and subject Zeo Health to a loss of good will and

confidence in which they are held by customers, prospective customers, and others. Defendants’

statements that Zeo Health’s president and founder Mr. Portney is untrustworthy, is “very well

known to regulatory agencies like the Food and Drug Administration,” and has a disreputable past,

also have this effect.



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       69.      Defendants’ statements, which are held out as fact and purport to be supported by

documents and public records and the opinions of a multi-credentialed doctor and president of

Metron Nutraceuticals are demonstrably untrue and can be independently verified as such.

       70.     Defendants’ statements, which cite Zeo Health, Mr. Portney, and their products by

name, are statements concerning Plaintiffs.

       71.     Defendants’ statements, which are publicly posted on the Zoi Global website and

social media, were, and continue to be, communicated to customers and potential customers

throughout the world.

       72.     Defendants’ statements were not only negligent but were made with reckless

disregard of whether they were false and with knowledge that they were false. The documents

provided by Defendants in the links on their website do not support Defendants’ claims, and

empirical verification establishes that Plaintiffs’ products do not have “huge red flags,” are FDA

compliant, have not been the subject of FDA warning letters, have not been the subject of

“multiple” regulatory issues or been found to have any safety issues, and have not been found to

be “pseudoscience” or “fake news.” Further, according to Defendants’ website, Dr. Tsirikos-

Karapanos is the president of Metron (a developer and manufacturer of dietary supplements), as

well as a board-certified pharmacist, medical doctor, and cardiovascular surgeon and “recipient of

prestigious awards in thoracic and cardiovascular surgery” and, as such, was aware and should

have been aware of the falsity of his statements.

       73.     Defendants’ statements affected Zeo Health in its business, trade, and profession.

       74.     Defendants’ defamatory statements caused damage to Zeo Health in terms of loss

of sales, good will, and reputation.

                            COUNT THREE
          DEFAMATION OF MICAH PORTNEY UNDER NEW JERSEY LAW



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       75.     Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

74 herein.

       76.     Defendants’ statements, including that Mr. Portney is untrustworthy, is “very well

known to regulatory agencies like the Food and Drug Administration,” and has a disreputable past,

that his company Zeo Health’s products are unsafe, are not FDA compliant, have “huge red flags,”

have been the subject of FDA warning letters, have been the subject of “multiple” regulatory

issues, and are “pseudoscience” and “fake news,” are false and injurious to Mr. Portney’s

reputation and subject him to a loss of good will and confidence in which he is held by customers,

prospective customers, and others.

       77.     Defendants’ statements, which are held out as fact and purport to be supported by

documents and public records and the opinions of a multi-credentialed doctor and president of

Metron are demonstrably untrue and can be independently verified as such.

       78.     Defendants’ statements, which cite Mr. Portney, Zeo Health, and their products by

name, are statements concerning Plaintiffs.

       79.     Defendants’ statements, which are publicly posted on the Zoi Global website and

social media, were, and continue to be, communicated to customers and potential customers

throughout the world.

       80.     Defendants’ statements were not only negligent but were made with reckless

disregard of whether they were false and with knowledge that they were false. The documents

provided by Defendants in the links on the Zoi Global website do not support Defendants’ claims,

and empirical verification establishes that Mr. Portney is not “well known” by regulatory agencies,

and his products do not have “huge red flags,” have not been the subject of FDA warning letters,

have not been the subject of “multiple” regulatory issues or been found to have any safety issues,



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and have not been found to be “pseudoscience” or “fake news.” Further, according to the Zoi

Global website, Dr. Tsirikos-Karapanos is the president of Metron (a developer and manufacturer

of dietary supplements), as well as a board-certified pharmacist, medical doctor, and

cardiovascular surgeon and “recipient of prestigious awards in thoracic and cardiovascular

surgery” and, as such, was aware and should have been aware of the falsity of his statements.

          81.   Defendants’ statements affected Mr. Portney in his business, trade, and profession.

          82.   Defendants’ defamatory statements caused damage to Mr. Portney in terms of loss

of sales, good will, and reputation.

                          COUNT FOUR
    DEFAMATION OF TOUCHSTONE ESSENTIALS UNDER NEW JERSEY LAW

          83.   Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

82 herein.

          84.   Defendants’ statements, including that Plaintiffs Touchstone Essentials and its

zeolite products are non-FDA compliant, unsafe, mislabeled, do not contain zeolite, have “red

flags,” and are “pseudoscience” and “fake news,” are false and injurious to Touchstone Essentials’

reputation and subject Touchstone Essentials to a loss of good will and confidence in which it is

held by customers, prospective customers, and others. Defendants’ statements that Touchstone

Essentials is the “rebrand” of an allegedly dishonest (or worse) company that was the “root of all

evil in the zeolite space,” that there was a judgment against Mr. Stone/that Mr. Stone was found

to have any liability in the Waiora litigation, and that Touchstone Essentials’ founder and CEO

Mr. Stone lacks knowledge and scientific understanding about the products-at-issue also have this

effect.




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       85.      Defendants’ statements, which are held out as fact and purport to be supported by

documents and public records and the opinions of a multi-credentialed doctor and president of

Metron are demonstrably untrue and can be independently verified as such.

       86.     Defendants’ statements, which cite Touchstone Essentials, Mr. Stone, and their

products by name, are statements concerning Plaintiffs.

       87.     Defendants’ statements, which are publicly posted on the Zoi Global website and

social media, were, and continue to be, communicated to customers and potential customers

throughout the world.

       88.     Defendants’ statements were not only negligent but were made with reckless

disregard of whether they were false and with knowledge that they were false. The documents

provided by Defendants in the links on the Zoi Global website and referenced in their videos do

not support Defendants’ claims, and empirical verification establishes that Touchstone Essentials’

products are not non-FDA compliant, are not unsafe, are not mislabeled, contain zeolite, do not

have “red flags,” and are not “pseudoscience” or “fake news.” Further, empirical verification

establishes that Defendants’ characterization of the Waiora litigation and Mr. Stone’s involvement

in the lawsuit is false, as are their statements that Touchstone Essentials is a “rebrand” of Waiora

and the “root of all evil in the zeolite space,” and that Mr. Stone lacks knowledge and scientific

understanding about the products-at-issue are also false. Further, according to the Zoi Global

website, Dr. Tsirikos-Karapanos is the president of Metron (a developer and manufacturer of

dietary supplements), a board-certified pharmacist, medical doctor, and cardiovascular surgeon

and “recipient of prestigious awards in thoracic and cardiovascular surgery” and, as such, was

aware and should have been aware of the falsity of his statements.




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        89.     Defendants’ statements affected, and will imminently affect, Touchstone Essentials

in its business, trade, and profession.

        90.     Defendants’ defamatory statements caused, and will imminently cause, damage to

Touchstone Essentials in terms of loss of sales, good will, and reputation.

                                COUNT FIVE
              DEFAMATION OF EDDIE STONE UNDER NEW JERSEY LAW

        91.     Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

90 herein.

        92.     Defendants’ statements, including that Touchstone Essentials’ zeolite products are

non-FDA compliant, unsafe, mislabeled, do not contain zeolite, have “red flags,” and are

“pseudoscience” and “fake news,” are false and injurious to Mr. Stone’s reputation, as the founder

and CEO of Touchstone Essentials, and subject him to a loss of good will and confidence in which

he is held by customers, prospective customers, and others.           Defendants’ statements that

Touchstone Essentials is the “rebrand” of an allegedly dishonest (or worse) company that was the

“root of all evil in the zeolite space,” that there was a judgment against Mr. Stone/that Mr. Stone

was found to have any liability in the Waiora litigation, and that Touchstone Essentials’ founder

and CEO Mr. Stone lacks knowledge and scientific understanding about the products-at-issue also

have this effect.

        93.     Defendants’ statements, which are held out as fact and purport to be supported by

documents and public records and the opinions of a multi-credentialed doctor and president of

Metron are demonstrably untrue and can be independently verified as such.

        94.     Defendants’ statements, which cite Mr. Stone, Touchstone Essentials, and their

products by name, are statements concerning Plaintiffs.




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       95.     Defendants’ statements, which are publicly posted on the Zoi Global website and

social media, were, and continue to be, communicated to customers and potential customers

throughout the world.

       96.     Defendants’ statements were not only negligent but were made with reckless

disregard of whether they were false and with knowledge that they were false. The documents

provided by Defendants in the links on the Zoi Global website and referenced in their videos do

not support Defendants’ claims, and empirical verification establishes that Touchstone Essentials’

products are not non-FDA compliant, are not unsafe, are not mislabeled, contain zeolite, do not

have “red flags,” and are not “pseudoscience” or “fake news.” Further, empirical verification

establishes that Defendants’ characterization of the Waiora litigation and Mr. Stone’s involvement

in the lawsuit is false, as are their statements that Touchstone Essentials is a “rebrand” of Waiora

and the “root of all evil in the zeolite space,” and that Mr. Stone lacks knowledge and scientific

understanding about the products-at-issue are also false. Further, according to the Zoi Global

website, Dr. Tsirikos-Karapanos is the president of Metron (a developer and manufacturer of

dietary supplements), as well as a board-certified pharmacist, medical doctor, and cardiovascular

surgeon and “recipient of prestigious awards in thoracic and cardiovascular surgery” and, as such,

was aware and should have been aware of the falsity of his statements.

       97.     Defendants’ statements affected, and will imminently affect, Mr. Stone in his

business, trade, and profession.

       98.     Defendants’ defamatory statements caused, and will imminently cause, damage to

Mr. Stone in terms of loss of sales, good will, and reputation.

                                COUNT SIX
               PRODUCT DISPARAGEMENT UNDER NEW JERSEY LAW




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       99.     Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

98 herein.

       100.    Defendants’ statements regarding Zeo Health and Mr. Portney, which are publicly

posted on the Zoi Global website, were, and continue to be, communicated to customers and

potential customers throughout the world. These statements, which include claims that Plaintiffs’

products have been found to have safety issues, are unsafe, are not FDA compliant, and are

“pseudoscience” and “fake news,” relate to Plaintiffs’ business and products.

       101.     Defendants’ statements were made with reckless disregard of whether they were

false and/or with knowledge that they were false. The documents provided by Defendants in the

links on their website do not support Defendants’ claims, and empirical verification establishes

that Plaintiffs’ products do not have “huge red flags,” have not been the subject of FDA warning

letters, are not unsafe, have not been the subject of “multiple” regulatory issues or been found to

have any safety issues, and have not been found to be “pseudoscience” or “fake news.” Further,

according to Defendants’ website, Dr. Tsirikos-Karapanos is the president of Metron (a developer

and manufacturer of dietary supplements), as well as a board-certified pharmacist, medical doctor,

and cardiovascular surgeon and “recipient of prestigious awards in thoracic and cardiovascular

surgery” and, as such, was aware and should have been aware of the falsity of his statements.

       102.     Defendants’ statements are presented as fact by Defendants. For example, at the

end of the Zeo Health comparison video, Ms. Stephens states: “Dr. Nikolaos, you’ve laid the facts

out on the table. If the consumer is looking for the benefits of zeolite, the gold standard is at Zoi

Global. Once the research is done, the answers are presented.” Defendants use Dr. Tsirikos-

Karapanos’s and Metron’s purported knowledge and expertise to provide credibility. Defendants

further claim to support their statements with documents linked via hyperlinks. Defendants’




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statements are demonstrably untrue and can be independently verified as such. For example, the

three documents linked by Defendants do not support their claims, and empirical verification

establishes that Plaintiffs’ products have not been the subject of FDA warning letters, have not

been the subject of “multiple” regulatory issues or been found to have any safety issues, and have

not been found to be “pseudoscience” or “fake news.”

       103.    Similarly, Defendants’ statements regarding Touchstone Essentials and Mr. Stone,

which are publicly posted on the Zoi Global website and social media, were, and continue to be,

communicated to customers and potential customers throughout the world. These statements,

which include claims that Plaintiffs’ products are non-FDA compliant, unsafe, mislabeled, do not

contain zeolite, have “red flags,” and are “pseudoscience” and “fake news,” relate to Plaintiffs’

business and products.

       104.     Defendants’ statements were made with reckless disregard of whether they were

false and/or with knowledge that they were false. The documents provided by Defendants in the

links on their website and referenced in their videos do not support Defendants’ claims, and

empirical verification establishes that Touchstone Essentials’ products are not non-FDA compliant,

are not unsafe, are not mislabeled, contain zeolite, do not have “red flags,” and are not

“pseudoscience” or “fake news.” Additionally, empirical verification establishes that Defendants’

characterization of the Waiora litigation and Mr. Stone’s involvement in the lawsuit is false, as are

their statements that Touchstone Essentials is a “rebrand” of Waiora and the “root of all evil in the

zeolite space,” and that Mr. Stone lacks knowledge and scientific understanding about the

products-at-issue are also false.    Further, according to Defendants’ website, Dr. Tsirikos-

Karapanos is the president of Metron (a developer and manufacturer of dietary supplements), as

well as a board-certified pharmacist, medical doctor, and cardiovascular surgeon and “recipient of




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prestigious awards in thoracic and cardiovascular surgery” and, as such, was aware and should

have been aware of the falsity of his statements.

       105.     Defendants’ statements are presented as fact. For example, at the end of the Zeo

Health comparison video, Ms. Stephens states: “Dr. Nikolaos, you’ve laid the facts out on the

table. If the consumer is looking for the benefits of zeolite, the gold standard is at Zoi Global.

Once the research is done, the answers are presented.” At the end of one of the Touchstone

Essentials comparison videos, Ms. Stephens states: “Thank you so much, Dr. Nikolaos …. Like

you said, we can hoodwink some people some of the time, but not all of the people all of the time.

And at the end of the day, we put our science where our mouth is, we make it readily available,

we don’t use any trickery words, and that is with great pride that Zoi Global can hang their hat

….” Defendants use Dr. Tsirikos-Karapanos’s and Metron’s purported knowledge and expertise

to provide credibility. Defendants further claim to support their statements with documents

presented in the videos and linked via hyperlinks.

       106.    Defendants’ statements are demonstrably untrue and can be independently verified

as such. For example, the documents cited and linked by Defendants do not support their claims.

Empirical verification establishes that Zeo Health’s and Mr. Portney’s products do not have “huge

red flags,” have not been the subject of FDA warning letters, have not been the subject of

“multiple” regulatory issues or been found to have any safety issues, are FDA compliant, have not

been found to be “pseudoscience” or “fake news,” and that Mr. Portney is not “well known” by

regulatory agencies. Additionally, empirical verification establishes that Touchstone Essentials’

products are not non-FDA compliant, are not unsafe, are not mislabeled, contain zeolite, do not

have “red flags,” and are not “pseudoscience” or “fake news,” and that Defendants’

characterization of the Waiora litigation and Mr. Stone’s involvement in the lawsuit is false, as are




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their statements that Touchstone Essentials is a “rebrand” of Waiora and the “root of all evil in the

zeolite space.”

       107.       Defendants’ disparaging statements played a material and substantial part in

leading others not to deal with Plaintiffs and caused damage to Plaintiffs in terms of loss of sales,

good will, and reputation.

                                   COUNT SEVEN
                     UNFAIR COMPETITION UNDER NEW JERSEY LAW

       108.       Plaintiffs incorporate by reference all of the allegations set forth in paragraphs 1-

107 herein.

       109.       Defendants’ statements regarding Zeo Health and Mr. Portney and their products

were made in bad faith and with reckless disregard of whether they were false and/or with

knowledge that they were false. The documents provided by Defendants in the links on their

website do not support Defendants’ claims, and empirical verification establishes that Zeo Health’s

products do not have “huge red flags,” have not been the subject of FDA warning letters, are safe

and FDA compliant, have not been the subject of “multiple” regulatory issues or been found to

have any safety issues, and have not been found to be “pseudoscience” or “fake news.” Further,

according to Defendants’ website, Dr. Tsirikos-Karapanos is the president of Metron (a developer

and manufacturer of dietary supplements), as well as a board-certified pharmacist, medical doctor,

and cardiovascular surgeon and “recipient of prestigious awards in thoracic and cardiovascular

surgery” and, as such, was aware and should have been aware of the falsity of his statements.

       110.       Likewise, Defendants’ statements regarding Touchstone Essentials and Mr. Stone

and their products were made in bad faith and with reckless disregard of whether they were false

and/or with knowledge that they were false. The documents provided by Defendants in the links

on their website and referenced in their videos do not support Defendants’ claims, and empirical



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verification establishes that Touchstone Essentials’ products are not non-FDA compliant, are not

unsafe, are not mislabeled, contain zeolite, do not have “red flags,” and are not “pseudoscience”

or “fake news.” Additionally, empirical verification establishes that Defendants’ characterization

of the Waiora litigation and Mr. Stone’s involvement in the lawsuit is false, as are their statements

that Touchstone Essentials is a “rebrand” of Waiora and the “root of all evil in the zeolite space,”

and that Mr. Stone lacks knowledge and scientific understanding about the products-at-issue are

also false. Further, according to Defendants’ website, Dr. Tsirikos-Karapanos is the president of

Metron (a developer and manufacturer of dietary supplements), as well as a board-certified

pharmacist, medical doctor, and cardiovascular surgeon and “recipient of prestigious awards in

thoracic and cardiovascular surgery” and, as such, was aware and should have been aware of the

falsity of his statements.

        111.    These statements regarding Plaintiffs are presented as fact by Defendants. For

example, at the end of the Zeo Health comparison video, Ms. Stephens states: “Dr. Nikolaos,

you’ve laid the facts out on the table. If the consumer is looking for the benefits of zeolite, the

gold standard is at Zoi Global. Once the research is done, the answers are presented.” At the end

of one of the Touchstone Essentials comparison videos, Ms. Stephens states: “Thank you so much,

Dr. Nikolaos …. Like you said, we can hoodwink some people some of the time, but not all of the

people all of the time. And at the end of the day, we put our science where our mouth is, we make

it readily available, we don’t use any trickery words, and that is with great pride that Zoi Global

can hang their hat ….”       Defendants use Dr. Tsirikos-Karapanos’s and Metron’s purported

knowledge and expertise to provide credibility.        Defendants further claim to support their

statements with documents presented in the videos and linked via hyperlinks.




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       112.     Defendants’ statements were intended to mislead the public and, by directly

comparing Plaintiffs’ products to Defendants’ products throughout their website and social media,

were intended to induce the public to purchase Defendants’ products in place of Plaintiffs’.

       113.     Defendants’ false and misleading statements caused damage to Plaintiffs in terms

of economic loss, loss of sales, good will, and reputation.

                                      PRAYER FOR RELIEF

        Wherefore, Plaintiffs Zeo Health Ltd., Micah Portney, Touchstone Essentials, and Eddie

Stone pray for relief as follows:

        A.      Preliminarily and permanently enjoin Defendants from publishing further false,

misleading, defamatory, and disparaging statements about Plaintiffs and their products;

        B.      Enter judgment against Defendants on all counts of the Complaint;

        C.      Award Plaintiffs damages in an amount to be determined at trial;

        D.      Award Plaintiffs enhanced damages as permitted by law, plus its reasonable

attorneys’ fees and the costs of this action; and

        E.      Grant such other relief as the Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

        In accordance with Fed. R. Civ. P. 38(b), Plaintiffs hereby demand a trial by jury for

all issues triable by jury.

Dated: June 18, 2021

                                              Respectfully submitted,

                                              s/ Dariush Keyhani
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